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UNITED STATES DISTRICT COURT                                            AFFIDAVIT ATTACMMENT “A

EASTERN DISTRICT OF VIRGINIA                                 IN SUPPORT OF CRIMINAL COMPLAINT




United Stales of America                                                        3                          ;
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                                                                                      r
V.



Mona C. Burruss.
                                                                                          NOV 2 6 2024
            Defendant.
                                                                                    CLEHK, U.S. DIS1 FliCT COURT   '
                                                                                            NOnrOLK. VA            I




                                           INTRODUCTION


               YOUR AFFIANT, being duly sworn, affirms and states that he is a Special Agent with

       the Naval Criminal Investigative Service, and is a federal law enforcement officer authorized to

       investisate violations of laws of the United States and to execute wari'ants issued under the


       authority of the United States.

               This affidavit is based upon infonnation that I have gained from my investigation, my

       training and experience, as well as information gained from conversations with other law

       enforcement officers. Since this affidavit is being submitted for the limited purpose of securing a

       criminal complaint, I have not included each and evciy fact known to me concerning this

       investigation. I have set forth only the facts that I believe are necessary to establish probable

       cause to believe that MONA C. BURRUSS, the DEFENDANT, has committed a violation of

       Title 18 United States Code, § 13 to wit, Virginia Criminal Statutes 18.2-266 and 18.2-270.




                           STATUTORY AUTHORITY AND DEFINITIONS




               This investigation concerns an alleged violation of Title 18 U.S.S § 18, related to

       assimilated crimes, to wit; Sections 18.2-266 (Driving Motor Vehicle, Engine, etc., While


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       Intoxicated, etc.) and 18.2-270 (Penalty for Driving While Intoxicated; Subsequent Offense;

       Prior Conviction) of the Code of Virginia, 1950 as amended. As an assimilated crime through

       Title 18 United States Code § 13, it is a felony offense to operate a motor vehicle while

       intoxicated after having been previously convicted of a felony violation of Virginia Criminal

       Statute 18.2-266 within a 10-year period. This offense occurred within a special maritime and

       territorial jurisdiction of the United States as defined in 18 U.S.C. § 7 within the Eastern District

       of Virginia and is therefore subject to Title 18 U.S.C. § 13 as an assimilated crime.




                                FACTS AND CIRCUMSTANCES


  1.    On or about October 24, 2024 in the Eastern District of Virginia, the DEFENDANT did operate

       a motor vehicle while intoxicated.




 2.     At approximately 0I23hrs, the DEFENDANT drove a 2012 Chevrolet “Cruze” to gate four,

       aboard U.S. Naval Weapons Station Yorktown (NWSY), Cheatham Annex, where she was

       confronted by Naval Security Forces (NSF). Master at Arms Seaman Aroara Ramirez, USN, NSF

       NWSY (hereinafter “RAMIREZ”), the NSF sentry posted at NWSY Cheatham Annex gate four.

       observed the DEFENDANT upon her arrival at NWSY gate four. Per RAMIREZ, the

       DEFENDANT passed the stop sign controlling traffic flow into the gate from outside NWSY

       without stopping, ultimately coming to a stop just before the gate four barrier ann. RAMIREZ

       then observed the DEFENDANT open her vehicle door and begin yelling from inside her vehicle

       for her to be allowed through the gate. The DEFENDANT then stated to RAMIREZ, “I must

       have made a wrong turn going back home” and then asked, “Where am I?” RAMIREZ observed

       the DEFENDANT displaying slurred and disoriented speech, red/glassy eyes, and the “strong'

       odor of alcoholic beverage emanating from her breath. RAMIREZ additionally observed an open

       alcoholic beverage container located in the front-passenger area cup holder of the

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       DEFENDANT’S vehicle. Per RAMIREZ, the DEFENDANT displayed “delayed motor skills^

       and was, at times, unable to complete a full sentence. According to the RAMIREZ, the

       DEFENDANT “accidentally pressed the gas” of her motor vehicle and nearly struck the gate-arm

       of NWSY gate four and opened the trunk-lid of her vehicle without prompt.


  3.    Additional NSF personnel. Master at Arms        Class Erik Kaska, USN, NSF NWSY (hereinafter

        KASKA”) and Sergeant Eric Schaefer, DoN Police, NSF NWSY (hereinafter “SCHAEFER”)

       were dispatched to NWSY gate four to assist RAMIREZ. When requested by NSF personnel to

       produce identification, the DEFENDANT produced a “stack” of assorted cards, dropping several

       before admitting she did not have her identification, only her mother’s; the DEFENDANT then

       produced an expired Virginia identification card which was associated with the DEFENDANT.

       Per SCHAEFER, the Virginia identification number associated with the DEFENDANT’S

       identification card was queried via the NSF regional dispatch, the results of which detailed that

       the defendant’s driver’s license was revoked subsequent to three previous driving under the

       influence (DUI) convictions.


 4.     Prior to attempting to conduct standardized field sobriety tests (SFSTs), SCHAEFER, along

       with KASKA, observed the DEFENDANT exhibiting slurred speech, bloodshot, “glassy” eyes,

       and the odor of alcoholic beverage. Following a request by SCHAEFER to exit her vehicle to

       conduct SFSTs, the DEFENDANT was observed “stumbling”, dropping her wallet, struggling to

       maintain balance once standing, and utilizing her vehicle to aid in balancing.


  5.    At approximately 0136hrs SCHAEFER initiated the “horizontal gaze nystagmus” (HGN) SFST.

       Per SCHAEFER, the DEFENDANT failed to follow instructions pertaining to the HGN SFST, to

       wit, the DEFENDANT followed the tip of SCHAEFER’s pen, known as the “stimulus”, by

       moving her entire head, rather than tracking the “stimulus” with her eyes alone. The




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       DEFENDANT then refused to participate in further SFSTs, citing “neuropathy” in her legs and

       feet.




  6.    At approximately 0159hrs, the DEFENDANT was taken into custody by NSF personnel under

       suspicion of DUl and transported to the NWSY NSF precinct at building 702, NWSY in order to

       obtain a forensic breath test for blood alcohol content. Two attempts to obtain a breath sample


       resulted in results of “deficient sample” per the testing device. Per SCHAEFER, in contravention

       of his instructions to her to complete the test, the DEFENDANT blew lightly into the forensic

       breath test device and then proceeded to suck air through the mouthpiece of the breath test device.

       SCHAEFER articulated that he could hear a valve within the test device snap closed when the


       DEFENANT sucked air through the machine, rather than blowing air.



  7.    Your affiant observed in the Commonwealth of Virginia Courts public record database that the

       DEFENDANT was convicted of a “3^^ or Subsequent”, felony violation of Virginia criminal

       statute 18.2-266 (DUl) following a “Guilty” plea entered on March 8, 2021 in the Circuit Court of

       Gloucester, VA (Criminal). This record was captioned by Gloucester Circuit Court (Criminal)

       case number “CR20000460-00” and offense tracking number “073GM2000001682”. The

       DEFENDANT was sentenced to five years of incarceration with all but six months suspended.

       along with “indefinite” suspension of her driver’s license and “indefinite” supervision/probation.



  8.   Your affiant spoke to the DEFENDANT via telephone on November 26''', 2024 to verify her

       residential address. The DEFENDANT stated she resides at 15208 George Washington Memorial


       HWY, Saluda, VA 23149.




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                                             CONCLUSION


             Based upon the facts set forth above, 1 submit that probable case exists to believe MONA

    C. BURRUSS, the DEFENDANT, has violated Title 18 United States Code § 13, to wit, Virginia

    Criminal Code Sections 18.2-266 and 18.2-270 as assimilated crimes.



    FURTHER YOUR AFFIANT SAYEl'I-l NOT.



                                                                               Respectfully Submitted

                                                                                      ^^our Affiant,



                                                                     Special          icholas B. Finch


                                                                Naval Criminal Investigative Service

                                                                Resident Agency, Yorktown, Virginia



    This affidavit has been reviewed for legal sufficiency by Assistant United States Attorney Cathy

    Black.




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    Subscribed and sworn to before me this            of                   , 20o?y^


                                                     7^ agist rate Judge




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